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                                                 1:18-cv-1022 (DNH/CFH)




                 Exhibit C
  Case 1:18-cv-01022-DNH-CFH Document 1-3 Filed 08/24/18 Page 2 of 2



 HUDSON MFG LLC                                                                      Purchase Order
302 Deepwood Dr.                                                                              2016516
Georgetown, TX, 78628
512c630-9008

CVM                                                                                 ORDER DATE: 11/4/2016
28Perry Lane                                                                   Payment Terms:     1% 10/Net 30
Cambddge, NY 12816                                                             Delivery Terms:    FOB: Origin
EMAJL:          jmoore@cvrnusa .corn                                         Required Delivery:   Per schedule in notes.
PHONE:                                                                                Ship VIA:   TBD
ATTN:                  Jim Moore

Ship To:                                                           Invoice To:
HUDSON MFG LLC                                                     HUDSON MFG LLC
10986 NW HK Dod.aen Loop                                           302 Deepwood Dr.
Temple. TX, 76504                                                  Georqefown. TX. 78628
PHONE:            517-610-1060                                     PHONE:                         512-630-9008
ATTN:             Barbara Stockford                                ATTN:                          Lauren Hudson
        ITEM           QUANTITY              PART No.                       DESCRIPTION              PRICE                 TOTAL
       Grip             10,000              H9-200-0001                       Rev.C                   $120.00 $             1 200.000.00
   Barrel. 9 mm.        10.000              H9-200-0004                        Rev. F                  $33.00 $               330000.00
      Striker           10,000              H9-200-0055                       Rev. C                   $15.75 $               157,500.00

                                                                                                                $                    -
                                                                                                                $                    -
                                                                                                                $                    -
                                                                                                                $                    -
                                                                                                   SUBTOTAL $               1,687,500.00
                                                                                                  SALES TAX%
                                                                                                       TOTAL $              1,687 ,500.00

PURCHASE ORDER COMMENTS
Parts to be released in 2,500 piece monthly quantities starting 2/1/2017.




      THIS PURCHASE ORDER IS VALID ONLY WITH AN APPROVED HUDSON MFG LLC AUTHORIZED SIGNATURE


                                                     · ~                                                                       11/8/2016
Prepared by:          Lauren Hudson                                                                            Date




Approved by:                                                                                                   Date



                                                        http ://www.hudsonmfg.com/Terms
